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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO.: 18-CV-62740-UU

  USA ENTERTAINMENT GROUP, INC.,
  a Florida corporation d/b/a CLUB CINEMA,

                   Plaintiffs,

  vs.

  SHERIFF GREGORY TONY, In His Official Capacity;
  SHERIFF SCOTT ISRAEL, Individually;
  MAJOR WAYNE ADKINS;
  THE CITY OF POMPANO BEACH,
  a Florida municipal corporation;
  LAMAR FISHER, individually and in his official capacity;
  And CHARLOTTE BURRIE, individually and in her
  official capacity; jointly and severally,

              Defendants.
  ____________________________________________/

         DEFENDANTS, SHERIFF GREGORY TONY, SHERIFF SCOTT ISRAEL, AND
            MAJOR WAYNE ADKINS’S, MOTION FOR SUMMARY JUDGMENT

             COME NOW Defendants, SHERIFF GREGORY TONY (“BROWARD SHERIFF’S
  OFFICE” or “BSO”), in his official capacity, SHERIFF SCOTT ISRAEL (“ISRAEL”),
  individually, and MAJOR WAYNE ADKINS (“ADKINS”), by and through undersigned
  counsel, and pursuant to Federal Rule of Civil Procedure 56 and Local Rules of the Southern
  District of Florida 7.1 and 56.1, hereby file their Motion for Summary Judgment and
  memorandum of law in support thereof, and state as follows:
        I.      STATEMENT OF THE CASE
             Plaintiff claims two bases for the imposition of 42 USC §1983 liability upon BSO,
  Adkins, and Israel, in his individual capacity. Plaintiff alleges that these Defendants 1) retaliated
  against the Plaintiff’s First Amendment freedom of speech (Count II), and 2) deprived the
  Plaintiff of equal protection under the 14th Amendment (Count IV). As discussed below, the
  Plaintiff has failed to make a prima facie argument for either claim as there is a complete lack of



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  record evidence to support either of the Plaintiff’s claims. As such, this Court should summarily
  dismiss Counts II and IV.
      II.       LEGAL STANDARD ON SUMMARY JUDGMENT
             Summary judgment is proper if following discovery, the pleadings, depositions, answers
  to interrogatories, affidavits and admissions on file show that there is no genuine issue of
  material fact such that the moving party is entitled to judgment as a matter of law. Celotex Corp.
  v. Catrett, 477 U.S. 317, 322 (1986); Fed. R. Civ. P. 56.
      III.      FIRST AMENDMENT RETALIATION
             In order to successfully bring a First Amendment claim under Section 1983, a plaintiff
  must establish three elements: (i) that the plaintiff's speech was constitutionally protected, (ii)
  that the defendant's alleged retaliatory action adversely affected the plaintiff's constitutionally
  protected speech, and (iii) that a causal relationship exists between its speech and the defendant's
  retaliatory action. See O'Bryant v. Finch, 637 F.3d 1207, 1212 (11th Cir.2011); Boyd v. Peet, 249
  Fed. Appx 155 (11th Cir. 2007); Bennett v. Hendrix, 423 F.3d 1247, 1250, 1254 (11th Cir.2005).
             A. The Plaintiff has not engaged in protected speech
             First, the Plaintiff has failed to establish that it engaged in protected speech. Plaintiff
  merely makes the inference that the alleged the Defendants’ “excessive police activity” occurred
  when the Plaintiff would “host a show or concert that appealed to a primarily African-American
  audience, such as hip hop and rap music events.” [ECF 67 at ¶ 130]. The Plaintiff alleges further
  that it “has the right under the First Amendment to host hip hop and rap music events,” and the
  actions of BSO “were taken to retaliate against [the Plaintiff] for hosting events which catered to
  African American audience1 [ECF 67 at ¶¶ 131-132].
             Generally, “[m]usic, as a form of expression and communication, is protected under the
  First Amendment.” Ward v. Rock Against Racism, 491 U.S. 781, 790 (1989). Nevertheless,
  hosting       a    music    event    has    not    been    considered     protected    speech.    See
  Habash v. City of Salisbury, Md., 618 F. Supp.2d 434 (D. Md. 2009) (No case supporting the
  proposition that the playing of hip hop music constitutes protected speech). In the concert setting,
  the First Amendment right to freedom of expression interacts with the right to freedom of

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    The Plaintiff’s allegation appears to infer that rap and hip hop music appeals primarily to
  African American audiences. [See ECF 67 at ¶¶ 130-132]. This is itself a proposition with racial,
  stereotypical undertones. Notwithstanding, the Plaintiff has not presented any record evidence to
  establish the audience size or the racial makeup of its patrons.
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  assembly and association. “Implicit in the right to engage in First Amendment-protected
  activities is ‘a corresponding right to associate with others in pursuit of a wide variety of
  political, social, economic, educational, religious, and cultural ends.’” Collins v. Ainsworth, 382
  F.3d 529, 539 (5th Cir.2004) (quoting Roberts v. U.S. Jaycees, 468 U.S. 609, 622 (1984)). The
  right, which protects expressive association, however, does not protect chance encounters at a
  dance club that contain no element of expression. See City of Dallas v. Stanglin, 490 U.S. 19, 25
  (1989); Roberts, 468 U.S. at 619. In the case at bar, the Plaintiff was not engaging in any speech.
  However, even if we assume the Plaintiff has alleged that the Defendants interfered with the
  right of their patrons to associate within its business, then Plaintiff has also failed to allege a
  protected right. See Stanglin, 490 U.S. at 25.
         B. The government may impose reasonable restrictions on the time, place, or
            manner of protected speech
         Next, even assuming arguendo that hosting a hip hop or rap event constitutes a protected
  form of speech, even in a public forum the government may impose reasonable restrictions on
  the time, place, or manner of protected speech, provided the restrictions “are justified without
  reference to the content of the regulated speech, that they are narrowly tailored to serve a
  significant governmental interest, and that they leave open ample alternative channels for
  communication of the information.” Id. at 791 (citing Clark v. Community for Creative Non–
  Violence, 468 U.S. 288, 293, 104 S.Ct. 3065, 3069, 82 L.Ed.2d 221 (1984); Heffron v.
  International Society for Krishna Consciousness, Inc., 452 U.S. 640, 648, 101 S.Ct. 2559, 2564,
  69 L.Ed.2d 298 (1981)).
                 i.      The alleged acts of the Defendants were content neutral
         The principal inquiry in determining content neutrality, in speech cases generally and in
  time, place, or manner cases in particular, is whether the government has adopted a regulation of
  speech because of disagreement with the message it conveys. Ward, 491 U.S. at 791 (citing
  Clark, 468 U.S. at 295). The government's purpose is the controlling consideration. Id. at
  792 (citing Renton v. Playtime Theatres, Inc., 475 U.S. 41, 47–48 (1986). Government regulation
  of expressive activity is content neutral so long as it is “justified without reference to the content
  of the regulated speech.” Id. at 792 (quoting Clark, 468 U.S. at 293) (emphasis added).
         The Plaintiff has asserted that the Defendants alleged actions were taken “solely to
  destroy [the Plaintiff]’s business, reputation and ability to attract paying customers to future


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  shows and artists to perform at future shows.” (emphasis added) [ECF 67 at ¶ 125]. By the
  Plaintiff’s own allegations, it does not appear that the Defendants took any action to actually
  regulate the speech of the Plaintiff or its musical acts because of a disagreement with the
  message it conveys. See id. at 791. Taking the allegations of the Plaintiff as true, only for the
  purposes of this argument, it appears the Defendants’ alleged actions were unrelated to the
  content of expression. As such the Defendants’ alleged actions should be deemed content
  neutral, and, therefore, reasonable under the circumstances. See id. at 792.
                 ii.     Defendants’ alleged acts were narrowly tailored to serve a significant
                         governmental interest
         Despite the Plaintiff’s allegation to the contrary, the true reason for the presence of law
  enforcement near the Plaintiff’s business was “narrowly tailored to serve a significant
  governmental interest.” See id. at 796 (quoting Clark, 468 U.S. at 293). The Defendants were
  present at the Plaintiff’s property in order to assure the public safety of the Plaintiff’s patrons on
  concert nights. See Orgain v. City of Salisbury, Md., 305 Fed. Appx. 90, 101 (4th Cir.
  2008) (holding that Salisbury officials were acting out of a “genuine concern for public safety”).
  The Plaintiff’s building has a capacity of approximately 2,500 people. See Statement of Facts
  (“SOF”) at ¶ 20. “Public safety is always a serious concern during an event at a venue of this
  size.” Id. Notably, the Plaintiff and “the immediate surrounding area had a history of emergency
  calls for suspected criminal activity and or public safety/medical emergencies, including
  felonies, narcotics violations, overdoses, larceny, robbery, assault. See SOF at ¶ 19. “Broward
  Sheriff’s Office would assign officers to Club Cinema during an event to maintain public
  safety.” See SOF at ¶ 20. Importantly, “Broward Sheriff’s Office would assign officers to Club
  Cinema without concern to the type of musical act (rap, hip-hop, EDM, Latin, gospel, etc.) as
  maintaining public safety for a venue of this size is of primary importance.” See SOF at ¶ 21
  (emphasis added). The Plaintiff does not have record evidence to dispute BSO’s legitimate
  purpose for being at the Plaintiff’s property. Based on the foregoing it is clear that the
  Defendant’s actions were narrowly tailored to serve a significant governmental interest, and,
  therefore, reasonable under the circumstances. Ward, 491 U.S. at 791.
                 iii.    The     Defendants     left       open   ample   alternative    channels    of
                         communication




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         The final requirement, that the Defendants leave open ample alternative channels of
  communication, is easily met. Indeed, in this respect the Defendants actions were far less
  restrictive than regulations courts have upheld in other cases, for it does not attempt to ban any
  particular manner or type of expression at a given place or time. Cf. Frisby v. Schultz, 487 U.S.
  474, 482–484 (1988); Clark, 468 U.S., at 295; City of Renton v. Playtime Theatres, Inc., 475
  U.S. 41, 53–54 (1986). Rather, the Defendants alleged actions continued to permit expressive
  activity at the Plaintiff’s property and had no effect on content of that expression as there is no
  evidence that any shows were shut down. See SOF at ¶¶ 24-25. That the Defendants actions may
  have “reduced to some degree the potential audience for [the Plaintiff’s] speech is of no
  consequence, for there has been no showing that the remaining avenues of communication are
  inadequate.” See Members of City Council of City of Los Angeles v. Taxpayers for Vincent, 466
  U.S. 789, at 803 and n. 23, 812 and n. 30 (1984); Kovacs v. Cooper, 336 U.S. 77, 88-89 (1949).
  Based on the foregoing it is clear that the Defendant’s actions allowed ample alternative channels
  of communication, and, therefore, reasonable under the circumstances. Ward, 491 U.S. at 791.
         C. Plaintiff has failed to provide any                    record     evidence   of    actual
            adverse retaliatory action taken against it
         Even if the Plaintiff's musical format could be construed as protected speech, the
  Plaintiff’s claim must fail. To find a violation of First Amendment rights in a retaliation context,
  the Eleventh Circuit has held “[a] Plaintiff suffers adverse action if the defendant's
  allegedly retaliatory conduct would likely deter a person of ordinary firmness from the exercise
  of First Amendment rights.” Taylor v. City of Atlanta Police Dept., 2006 WL 304038, at *11
  (S.D. Fla. Feb. 7, 2006) (citing Bennett v. Hendrix, 423 F.3d 1247, 1254 (11th Cir. 2005)).
  Implicit in such requirement is that a First Amendment retaliation claim cannot be sustained
  without the presence and occurrence of an actual adverse action taken by a defendant and
  targeted against a plaintiff. See Bethel v. Town of Loxley, 221 Fed. App'x. 812, 813 (11th Cir.
  2006). The Eleventh Circuit has further recognized that there can be no liability when a plaintiff
  is simply “unreasonably weak-willed . . . .” Bennett, 423 F.3d at 1252. The opinion of Club
  Retro, L.L.C. v. Hilton, 568 F.3d 181 (5th Cir. 2009) is instructive in this regard.
         In Club Retro, L.L.C. v. Hilton, the Plaintiff, a nightclub, alleged two acts by law
  enforcement that purportedly infringed their First Amendment rights. 568 F.3d at 211–12. First,
  on the night a raid, “some of the Deputy Sheriffs were telling people that Club Retro, L.L.C. was


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  going to be shut down, that people should not come back to Club Retro, L.L.C. and that, if they
  did come back to Club Retro, L.L.C., that Club Retro, L.L.C. would be raided again and they
  would be arrested.” Id. Second, the following weekend, on the night of a concert at Club Retro, a
  fire marshal and two deputy sheriffs entered Club Retro and stayed until the show began. Two
  other deputy sheriffs conspicuously parked their cruisers in Club Retro’s parking lot for the
  duration of the concert. Id. The Court upheld the lower court’s dismissal and concluded that the
  plaintiff failed to plead a constitutional infringement. Id. “Statements by some deputy sheriffs
  that people should not return to the club do not constitute a prior restraint on any First
  Amendment rights.” Id. The Court reasoned that plaintiff was free to and did hold its concert,
  moreover, Club Retro continued to operate without government officials exercising any control
  over their speech. Id. The Court highlighted that the plaintiff’s “[p]atrons were free to and did
  attend.” Id. Additionally, the Court also determined that “the passive attendance and visibility of
  the deputy sheriffs at Club Retro before and during the a concert was not a violation of First
  Amendment rights” as the law enforcement officers had every right to attend the show and park
  in the parking lot just as any other patron. Id. (citing Lewis v. United States, 385 U.S. 206, 211
  (1966). Similar to the facts in the opinion of Club Retro, in the case at bar, the Defendants
  presence at the Plaintiff’s property would not be considered an adverse retaliatory action taken
  against the Plaintiff.
          The Eleventh Circuit has also analyzed cases in which it was determined the actions of
  the defendants constituted an “adverse action or effect” for purposes of First Amendment
  retaliation claims. Id. at 1254-54. In Garcia v. City of Trenton, 348 F.3d 726, 728 (8th Cir.
  2003), evidence showed that the municipality “engaged the punitive machinery of government in
  order to punish [plaintiff] for speaking out” when record evidence showed repeated targeted
  ticketing of the plaintiff for illegally parking her vehicle. Id. at 729. In Keenan v. Tejeda, 290
  F.3d 252, 259 (5th Cir. 2002), record evidence showed “two disturbing incidents involving
  undercurrent of violence” wherein two reserve deputy constables were retaliated against when
  they reported unlawful practices undertaken by other reserve deputy constables. In
  one retaliatory incident, one of the plaintiffs was pulled over as part of a routine traffic stop by
  several officers and constables, with guns drawn, for an inordinate amount of time. The result of
  the traffic stop was the issuance of a minor traffic citation. In Bloch v. Ribar, 156 F.3d 673, 680-
  81 (6th Cir. 1988), in response to plaintiff's public criticisms of a police department's handling of

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  her case, the police department's sheriff released confidential and humiliating details of plaintiff's
  rape during a press conference.
         The actions of the defendants in the above-referenced cases were clear examples of
  adverse acts actually taken against, and targeted toward, the plaintiffs as a result of their actions.
  Such are clear instances of direct retaliatory acts. Unlike the above-referenced cases, the Plaintiff
  in the present matter fails to support a First Amendment retaliation claim. Plaintiff presents no
  record evidence supporting that the BSO took adverse action against it in any way. The most
  Plaintiff alleges is BSO assigned an “excessive and unwarranted police presence” at the events it
  held [ECF 67 at ¶¶ 87-123]. However, the Plaintiff has failed to provide record evidence of any
  police action at these events, such as actually shutting down the Plaintiff’s club or stopping the
  music artists from performing. Indeed, the Plaintiff alleges that BSO officers told patrons “the
  venue was going to be closed down,” and the Plaintiff failed to provide record evidence that its
  events were actually shut down. (emphasis added) [ECF 67 at ¶¶ 87-123].
         The Plaintiff’s alleged action by BSO is a far cry from the “tit-for-tat” adverse actions
  illustrated in the above-referenced cases. See Laird v. Tatum, 408 U.S. 1, 2 (1972) (holding
  plaintiff failed to provide a justiciable controversy under the First Amendment where plaintiffs
  complained of no specific adverse action against them). Moreover, the alleged conduct of the
  Defendants is “insufficient under the circumstances to ‘deter a person of ordinary firmness’ from
  engaging in the protected speech.” Indigo Room, Inc. v. City of Fort Myers, 589 Fed. Appx. 938,
  947 (11th Cir. 2014) (quoting O'Bryant, 637 F.3d at 1212). As such, the Plaintiff has failed to
  offer up any evidence to satisfy the implicit requirement that an occurrence of actual adverse
  action taken by BSO and targeted against the Plaintiff. See Bethel, 221 Fed. App'x. at 813.
  Therefore, this Court should dismiss the Plaintiff’s First Amendment retaliation claim.
         D. Plaintiff has failed to provide any record evidence that a causal relationship
            exists between its speech and the Defendants' alleged retaliatory action
         The Plaintiff also bears the burden of proving that a causal relationship exists between its
  speech and the Defendants’ allegedly retaliatory actions. See Boyd, 249 Fed. Appx 155. “The
  causal-connection inquiry asks whether the defendants were subjectively motivated to retaliate
  because the plaintiffs engaged in protected speech.” Indigo Room, 589 Fed. Appx. at 947 (citing
  O'Bryant, 637 F.3d at 1217)). The Plaintiff alleges that the actions of BSO were taken “because
  of the content of the speech being offered by [the Plaintiff], as no such actions were taken during


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  events such as the Brazilian gospel concert.” [ECF 67 at ¶ 133]. However, the Plaintiff
  contradicts this assertion in other allegations of the Amended Complaint by stating that BSO had
  “excessive or unwarranted police presence” at twenty events that were not related to hip hop or
  rap. For example, Plaintiff alleges that BSO had “excessive or unwarranted police presence” at
  the following events:
                Excision, a known Canadian producer and DJ of electronic dance music or
                 “dubstep.” [See ECF 67 ¶¶ 87, 97, 99];
                Zed True Colors show, a known Russian-German electronic music
                 producer [See ECF 67 ¶ 91];
                DJ Carnage, a known electronic dance music DJ [See ECF 67 ¶ 92];
                Oliver Heldens, a known Dutch DJ and producer of electronic-dance
                 music. [See ECF 67 ¶ 93];
                Borgore, a known Israeli electronic dance music producer, DJ, and singer-
                 songwriter. [See ECF 67 ¶¶ 95, 107];
                DVBBS, a Canadian electronic dance music duo. [See ECF 67 ¶¶ 98,
                 104];
                Lenardo & Eduardo Costa, a known Brazilian country music duo. [See
                 ECF 67 ¶ 106];
                DJ Jauz, a known American DJ and electronic dance music producer [See
                 ECF 67 ¶ 110];
                Adventure Club, is a known Canadian electronic dance music duo [See
                 ECF 67 ¶ 111];
                Wesley Safadão, a known Brazilian singer, songwriter, and producer [See
                 ECF 67 ¶ 112];
                Henrique e Juliano, a known Brazilian music duo. [See ECF 67 ¶ 113];
                RL Grime and Bonnie X Clyde, two known electronic dance groups. [See
                 ECF 67 ¶ 115];
                DJ Datsik, a known Canadian electronic dance music DJ. [See ECF 67 ¶
                 117];
                Dion Timmer, a known Dutch electronic music producer [See ECF 67 ¶
                 118];
                La DinastÍa show, a known Mexican ranchero band. [See ECF 67 ¶ 119];
                Los Tucanes de Tijuana, a known Mexican norteño band. [See ECF 67 ¶
                 122].
  The Amended Complaint did not identify the music artist or genre for the following events:
  Trick or Beats; May Daze; Night of the Rising Stars; Halloween Adventure; Back to Broward;
  St. Patty’s Day Bash. [ECF 67 ¶¶ 94, 103, 105, 114, 116, 120]. Notwithstanding, of the thirty-
  five musical acts highlighted in the Plaintiff’s Amended Complaint, only nine feature known rap
  and/or hip hop music artists. [ECF 67 ¶¶ 89, 90, 96, 101, 102, 108, 109, 121, 123]. As such, if
  we consider the nine out of thirty-five artists that are known rap or hip hop artists, approximately

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  26% of the Plaintiff’s musical acts featured rap and/or hip hop. Notably, the Amended Complaint
  only specifically identifies four music acts as “rap show[s].” [ECF 67 ¶¶ 102, 108, 109, 121]. If
  we only consider the four out of thirty-five artists that are specifically identified as rap or hip hop
  artists within the Amended Complaint, approximately 11% of the Plaintiff’s musical acts
  featured rap and/or hip hop.
         From the above analysis of the events hosted by the Plaintiff, it is apparent that BSO did
  not assign law enforcement personnel based on the genre of music. Moreover, the record
  evidence is insufficient to support an inference that the Plaintiff’s protected activity was a
  motivating factor behind the citation. Therefore, no reasonable jury could conclude that the
  Defendants were subjectively motivated to retaliate against the Plaintiff’s protected speech.
  Indigo Room, 589 Fed. Appx. at 947 (citing Brungart v. BellSouth Telecommunications, Inc.,
  231 F.3d 791, 799–800 (11th Cir. 2000)).
         In addition, the Plaintiff’s own allegations discussing each event held at its business
  establish that the Plaintiff held events catering to a multitude of music genres and BSO policed
  the area without regard to the type of music performed at the Plaintiff’s establishment. [ECF 67
  at ¶¶ 87-123]. Further, “Broward Sheriff’s Office would assign officers to Club Cinema during
  an event to maintain public safety. Broward Sheriff’s Office would assign officers to Club
  Cinema without concern to the type of musical act (rap, hip-hop, EDM, Latin, gospel, etc.) as
  maintaining public safety for a venue of this size is of primary importance.” See SOF at ¶ 21.
  The opinion of Habash v. City of Salisbury, Md. is instructive when the plaintiff has failed to
  properly allege or provide record evidence of the racial amicus of the defendant.
         In Habash v. City of Salisbury, Md., a nightclub owner brought a civil rights action
  against the city and certain city officials, alleging that they purposefully drove the nightclub out
  of business because it catered to a black clientele. The district court granted the defendants'
  motion for summary judgment, finding that there was no evidence of racial animus. With respect
  to several of the defendants, the court concluded that the plaintiff's “proof on this point is thin to
  the vanishing point.” Id. at 443. The court summarized the plaintiffs evidence of racial bias as
  consisting of the following: “there is racial tension in Salisbury, Maryland, there is a history of
  racial discrimination in the United States and the eastern shore of Maryland, Club Vissage's
  clientele on hip-hop nights is predominantly black, the Board banned two drink specials being
  offered by two hip-hop clubs (Vissage and Andromeda), a Board employee (Rickards) told [the

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   plaintiff] that Vissage could not sell drinks for less than $1.00, and Rickards told [the plaintiff]
   that he would be required to show cause at a hearing in order to renew his liquor
   license.” Id. The court went on to hold that “[n]one of this evidence, whether considered singly
   or collectively, could persuade a fair-minded jury that the Board, its members, or Inspector
   Rickards are bigoted. [The plaintiff's] argument is based on the false syllogism that the Board's
   actions hampered a club whose clientele was black, ergo the Board's actions must have been
   motivated by race. This syllogism cannot substitute for the type of solid proof required to
   withstand a motion for summary judgment.” Id.
          Given that only a limited percentage of the Plaintiff’s events actually featured a hip hop
   or rap artist, no fair-minded jury could conclude that either BSO, Israel, or Adkins acted in
   retaliation for the Plaintiff’s “speech.” Just like in Habash, here, the Plaintiff’s only evidence of
   racial amicus is the false syllogism that the Defendants actions hampered a club whose clientele
   may have been African American, ergo the Defendants’ actions must have been motivated by
   race. Therefore, the there is a clear lack of a causal connection between Plaintiff's speech and
   Defendants’ actions. Additionally, the Plaintiff has not identified any record evidence showing
   that Adkins or Israel acted in response to the Plaintiff’s protected speech2, either by directing
   subordinates to engage in unlawful actions or by failing to stop them from acting
   unlawfully. See Keating v. City of Miami, 598 F.3d 753, 764–65 (11th Cir.2010) (for a
   supervisor to be liable under § 1983, plaintiffs much establish a causal connection between the
   actions of the supervising official and the alleged constitutional violation). Neither Adkins nor
   Israel personally select establishments for patrol, nor did they direct officer to conduct improper
   activity. See SOF at ¶¶ 9-10; 21-25. And, although Adkins knew of police activity at the
   Plaintiff’s premises, there is no support for the contention, other than sheer speculation, that
   Adkins or Israel knew that any police actions were allegedly conducted in retaliation for
   protected speech. The lack of causal connection dictates that this claim be dismissed.
          E. Even if the Court determines there was actual retaliatory action taken against
             the Plaintiff, the Plaintiff suffered no injuries and its speech was not chilled



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     “At no time did the Broward Sheriff’s Office have policy, formal or informal, in regard to
   harassing, retaliating, or discriminating against Club Cinema or its patrons in anyway.” See SOF
   at ¶ 22. Moreover, “Sheriff Scott Israel never personally directed any officers to ‘close’ Club
   Cinema down.” See SOF at ¶¶ 24-25.
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            The Eleventh Circuit has held “that the injury-to-the-plaintiff requirement cannot be
   ignored.” Hallandale Prof'l Fire Fighters Local 2238 v. City of Hallandale, 922 F.2d 756, 760
   (11th Cir. 1991). The simple fact that Plaintiff alleges an “excessive” law enforcement presence
   without offering any evidence of an actual adverse retaliation is insufficient to constitute
   a First Amendment violation. The Plaintiff in Hallandale made the same argument, and the
   Eleventh Circuit disregarded it. “The closest plaintiff has come to [demonstrating an actual or
   impending concrete injury] is the bald assertion . . . that the mere existence of the policy ‘has a
   chilling effect on the freedom of speech rights of those City of Hallandale employees . . . .’ ” Id.
   at 761. Relying on Laird, 408 U.S. at 1, the Court held that “[a]llegations of subjective ‘chill’ ”
   are not adequate. City of Hallandale at 761. To support a claim of chilled speech, a plaintiff
   “must show that the defendants’ conduct resulted in something more than a ‘de minimis
   inconvenience’ to the exercise of their First Amendment rights.” Bethel, 221 Fed. App'x. at 813.
   Moreover, in response to the Defendants’ Request for Production regarding documentation
   evidencing the Plaintiff’s damages, the Plaintiff only responded with tax returns. Obviously, tax
   returns alone are not sufficient record evidence to prove the Plaintiff’s allegations of financial
   loss. As the Plaintiff has not provided any evidence of actual damages, its claim should be
   dismissed.
      IV.       DEPRIVATION OF EQUAL PROTECTION
            Plaintiffs have not alleged and cannot prove they are members of a protected class and
   therefore have asserted an equal protection claim under the “class of one” theory. They have
   alleged they were treated “differently than other similarly situated [venues].” [ECF 67 ¶¶ 268-
   276]. As the Eleventh Circuit has emphasized, “[t]o prove a ‘class of one’ claim, the plaintiff
   must show (1) that he was treated differently from other similarly situated individuals, and (2)
   that the defendant unequally applied a facially neutral [regulation] for the purpose of
   discriminating against him.” Leib v. Hillsborough Cnty. Pub. Transp. Com'n, 558 F.3d 1301,
   1307 (11th Cir. 2009); Eisenberg v. City of Miami Beach, 1 F. Supp. 3d 1327, 1340 (S.D. Fla.
   2014).
      A. Plaintiff has not provided any similarly situated venues
            Class of one equal protection claims generally require plaintiffs to identify comparators
   in the pleading in order to show intentional, discriminatory treatment different from others
   similarly situated. Eisenberg, 1 F. Supp. 3d at 1340 (citing Village of Willowbrook v. Olech, 528

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   U.S. 562 (2000); Campbell v. Rainbow City, 434 F.3d 1306 (11th Cir.2006); Glover v.
   Mabrey, 384 Fed.Appx. 763 (10th Cir.2010)). “That the plaintiff was treated differently than a
   similarly situated comparator is a crucial element of an as-applied equal protection claim.” Dibbs
   v. Hillsborough County, Fla., 67 F. Supp. 3d 1340, 1354 (M.D. Fla. 2014). Indeed, “in the
   context of ‘class of one’ claims,” “the ‘similarly situated’ requirement must be rigorously
   applied.” Leib, 558 F.3d at 1307 (citing Douglas Asphalt Co. v. Qore, Inc., 541 F.3d 1269, 1275
   (11th Cir.2008); Griffin Indus., Inc. v. Irvin, 496 F.3d 1189, 1207 (11th Cir.2007)). The purpose
   of the similarly situated requirement is to avoid “subject[ing] nearly all state regulatory decisions
   to constitutional review in federal court and deny[ing] state regulators the critical discretion they
   need to effectively perform their duties.” Leib, 558 F.3d at 1307 (quoting Griffin, 496 F.3d at
   1203). And “[e]ven in run-of-the-mill discrimination cases, [the Eleventh Circuit has]
   emphasized that plaintiffs are not permitted simply to ‘rely on broad generalities in identifying a
   comparator.’” Id. (quoting Griffin, 496 F.3d at 1204) (analyzing whether comparators were
   “prima facie identical in all relevant respects” (citation omitted)). More specifically, a plaintiff is
   required to prove that all similarly situated comparators are “prima facie identical in all
   respects.” Campbell, 434 F.3d at 1314.
           In Campbell, the plaintiffs submitted five alleged “similarly situated” comparators to the
   court alleging that they were all treated differently by the city than were the plaintiffs with
   respect to the application of an ordinance. Id. The court found that none of the five projects
   were prima facie identical in all respects, and held plaintiffs failed to provide sufficient evidence
   that they were treated differently than others similarly situated. Id. Specifically, plaintiff failed to
   submit record evidence of what the individual developers had submitted to the city, that the
   developments mentioned received the same tentative approvals as the plaintiffs, or that the
   developments themselves were of the same nature, i.e. residential, commercial, etc. Id.
           Here, Plaintiff has failed to identify even one comparator which is prima facie identical
   in all respects. Plaintiff contends that the businesses allegedly similarly situated to it are the
   Pompano Beach Amphitheater, Swinging Richards, Culture Room, Kingshead Pub, Body Shop
   Night Club, Tropicante Night Club, Cheetah, Diamond Dolls, Club Pink, Booby Trap and
   Flavors. [ECF 67 ¶¶ 268-276].
           The Plaintiff has failed to come forward with any evidence regarding how or why they
   believe the above referenced venues were similarly situated to its establishment. For reference,

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   the Plaintiff’s establishment primarily hosts musical performances and has a capacity of
   approximately 2,500 people. See SOF at ¶ 20. In stark contrast, the Pompano Beach
   Amphitheater and grounds offers permanent, stadium style seating for up to 2600 guests, and the
   overall capacity of the venue is closer to 10,000. See SOF at ¶ 28. Swinging Richards was known
   as an all nude adult entertainment bar that caters to homosexual men. See SOF at ¶ 29. It is not a
   venue for musical performances like the Plaintiff. Culture Room is a music venue in Fort
   Lauderdale, FL3 with a 650 person general admission capacity, it cannot accommodate 2,500
   people like the Plaintiff’s facility. See SOF at ¶ 30. Kingshead Pub, is a British pub, not a concert
   hall, with a maximum occupancy of only 52 people. See SOF at ¶ 31. Body Shop Night Club,
   Cheetah, Diamond Dolls, Club Pink, Booby Trap and Flavors are all adult entertainment venues
   featuring nude dancers, which would make them completely different from the Plaintiff’s
   business. See SOF at ¶¶ 32, 34. Tropicante Night Club was a dance club in Deerfield Beach, FL.
   However, Tropicante was shut down in May 2018 due to its history of criminal activity,
   including a shooting that had four victims. See SOF at ¶ 33. As such, it would appear that—if the
   Plaintiff’s allegations against the Defendants are taken as true—the Plaintiff and Tropicante both
   had a high amount of police activity, and, therefore, Plaintiff’s claims of being treated differently
   would be incorrect. Further, both Colonel Hale and Major Adkins believe the above described
   venues are not similar to the Plaintiff in regard to venue capacity, entertainment type, and/or
   location. See SOF at ¶ 27. There is simply no evidence that the Plaintiff was similarly situated to
   the comparators highlighted in the Plaintiff’s Amended Complaint.
       B. Even assuming that the alleged comparators were similarly situated to Plaintiff,
          they were not treated disparately
          Plaintiff asserts that it was treated differently than its alleged comparators. [ECF 67 ¶¶
   268-276]. However, Plaintiff has not come forward with any admissible evidence to prove this
   claim. Plaintiff contends that it was harassed by the Defendants, allegedly at the direction of
   Sheriff Israel, by surveillance and monitoring at the Plaintiff’s business and that such monitoring
   was greater than the surveillance conducted by the police at similarly situated establishments.
   However, the Plaintiff has come forward with no evidence to support this allegation, much less
   any evidence to show that, it actually occurred. As such, the Plaintiff cannot prove an essential


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    The City of Fort Lauderdale is policed by its own law enforcement department, not Browed
   Sheriff’s Office. See SOF at ¶ 30.
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   element that the Defendants “unequally applied a facially neutral [regulation] for the purpose of
   discriminating against [it].” Leib, 558 F.3d at 1307; Eisenberg, 1 F. Supp. 3d at 1340. Therefore,
   the Plaintiff’s equal protection claim should be dismissed.
      C. Even if the Court determines there was actual retaliatory action taken against the
         Plaintiff, the Plaintiff suffered no injuries
           The Eleventh Circuit has held “that the injury-to-the-plaintiff requirement cannot be
   ignored.” Hallandale Prof'l Fire Fighters Local 2238 v. City of Hallandale, 922 F.2d 756, 760
   (11th Cir. 1991). The simple fact that Plaintiff alleges an “excessive” law enforcement presence
   without offering any evidence of discrimination is insufficient to constitute an Equal Protection
   claim. The Plaintiff in Hallandale made the same argument, and the Eleventh Circuit disregarded
   it. Moreover, in response to the Defendants’ Request for Production regarding documentation
   evidencing the Plaintiff’s damages, the Plaintiff only responded with tax returns. Obviously, tax
   returns alone are not sufficient record evidence to prove the Plaintiff’s allegations of financial
   loss. As the Plaintiff has not provided any evidence of actual damages, its claim must be
   dismissed.
      V.        CLAIMS AGAINST BSO
           A. BSO is entitled to summary judgment with respect to Plaintiff’s Monell claims in
              Count II and IV of the Amended Complaint because there is no evidence that
              BSO had a custom, practice or policy of retaliation or discrimination which was
              the “moving force” behind Plaintiff’s alleged injury
           Foremost, according to Major Adkin’s review of official records maintained by BSO,
   “the Broward Sheriff’s Office stopped going to any shows put on at Club Cinema after
   November of 2016. There were no officers providing off-duty details and the Broward Sheriff’s
   Office stopped sending police officers to any of the shows unless there was a fire/rescue call,
   which would respond.” See SOF at ¶ 13. As such, it would appear that on the face of the
   pleadings, any of the Plaintiff’s claims that the Defendants had “excessive” police presences
   after November 2016 are completely baseless. [ECF 67 ¶¶ 107-123; 244-260].
           The Plaintiff's Monell claim against BSO is based upon their contention that Israel, in his
   official capacity as Sheriff, was aware of the retaliatory and discriminatory actions allegedly
   occurring at the Plaintiff’s business, but nevertheless failed to take any action to stop it or
   otherwise ratified these actions. A local government is liable under 42 USC § 1983 for its
   policies and customs that cause constitutional torts. McMillian v. Monroe Cnty., Ala., 520 U.S.


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   781, 784, 117 S.Ct. 1734, 138 L.Ed.2d 1 (1997) (citing Monell v. Dep't of Social Servs., 436 U.S.
   658, 694, 98 S.Ct. 2018, 56 L.Ed.2d 611 (1978) (municipality not liable under section
   1983 unless a municipal policy causes claimed constitutional deprivation); Mandel v. Doe, 888
   F. 2d 783, 791 (11th Cir. 1989). Respondeat superior or vicarious liability is not a basis for
   rendering municipalities liable under Section 1983. Monell, at 694-95.
          Therefore, in order to succeed against BSO, Plaintiff would still be required to prove that
   BSO’s custom, practice or policy, displaying “deliberate indifference,” was the “moving force”
   behind Israel and Adkins’s actions and actually caused the Plaintiff's alleged injury. Mere
   negligence is insufficient to impose liability on a municipality and its officials under §
   1983. Davidson v. Cannon, 474 U.S. 344 (1986); Daniels v. Williams, 474 U.S. 327 (1986).
   Municipal policy may be found in written ordinances and regulations, affirmative decisions of
   individual policymaking officials, Pembaur v. City of Cincinatti, 475 U.S. 469, 483-84 (1986), or
   in certain omissions on the part of policymaking officials that manifest deliberate indifference to
   the rights of citizens. City of Canton v. Harris, 489 U.S. 378, 388-89 (1989).
          Although Canton involved a “failure to train” claim, its holdings nevertheless apply with
   respect to Plaintiff's claims in the instant case. In Canton, the Court held that a direct causal link
   must exist between a specific alleged deficiency in training and the particular violation alleged,
   stating that “‘the identified deficiency in [a] training program must be closely related to the
   ultimate injury.’” Id., 489 U.S. at 391. As discussed above, the record evidence establishes that
   no constitutional violation occurred in this case. Moreover, there is a complete absence of
   evidence to establish that the BSO had an official policy or custom of retaliatory or
   discriminatory conduct which adversely affected protected speech or the Plaintiff’s equal
   protection. Further, “at no time did the Broward Sheriff’s Office have policy, formal or informal,
   in regard to harassing, retaliating, or discriminating against [the Plaintiff] or its patrons in
   anyway.” See SOF at ¶ 22. Therefore, BSO cannot be held liable. Further, to the extent that the
   claim against BSO alleges constitutional harm apart from what has been discussed above, there
   is no record evidence for a reasonable jury to infer that BSO had a policy or custom that caused,
   or was the “moving force” behind, the purported constitutional violations. See City of Oklahoma
   v. Tuttle, 471 U.S. 808, 819–24 (1985). As such, the Plaintiff’s claims against BSO should be
   dismissed.



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             B. BSO is entitled to summary judgment with respect to Plaintiff’s Monell claims in
                Count II and IV of the Amended Complaint because there is no evidence that
                that ISRAEL or ADKINS violated Plaintiff’s Equal Protection rights
             BSO may not be held liable unless an individual Defendant (for which the BSO is
   responsible) is first found liable for violating Plaintiff's constitutional rights. “Sheriff Scott Israel
   never personally directed any officers to ‘close’ Club Cinema down.” See SOF at ¶¶ 24-25.
   Moreover, “Between 2013 and January 2019, [Adkins] had no responsibility for drafting the
   assignments of any officers assigned to [Club Cinema], nor was [Adkins] involved in any
   decision making concerning off-duty details at Club Cinema, or on-duty details that may have
   been created.” See SOF at ¶ 15. Plaintiffs have not come forward with any evidence to
   demonstrate that Sheriff Israel violated their rights, nor have they generated a dispute of fact with
   respect to any material issue. Accordingly, he is entitled to summary judgment. Inasmuch as
   there is no basis to conclude that Adkins or Israel, individually, violated Plaintiff's constitutional
   rights, Plaintiff's Monell claim against the BSO necessarily fails. City of Los Angeles v. Heller,
   475 U.S. 796 (1986). Accordingly, BSO is entitled to summary judgment with respect to Counts
   II and IV.
       VI.      ISRAEL, IN HIS INDIVIDUAL CAPACITY, AND ADKINS ARE ENTITLED
                TO QUALIFIED IMMUNITY
             AQualified immunity offers complete protection for government officials sued in their
   individual capacities if their conduct >does not violate clearly established statutory or
   constitutional rights of which a reasonable person would have known.=@ Kingsland v. City of
   Miami, 382 F. 3d 1220, 1231 (11th Cir. 2004) (quoting Vinyard v. Wilson, 311 F. 3d 1340, 1346
   (11th Cir. 2002)); Fontanez v. Lamberti, 2011 WL 4499016 *5 (S.D. Fla. 2011). It permits
   officials to perform their duties, without the threat of civil liability, if they act in a lawful
   manner. It is immunity from suit rather than a mere defense to liability. See Mitchell v. Forsyth,
   472 U.S. 511, 526, 105 S. Ct. 2806, 2815, 86 L.Ed.2d 411 (1985); Harlow v. Fitzgerald, 457
   U.S. 800, 819, 102 S. Ct. 2727, 2739, 73 L.Ed.2d 396 (1982). Essentially, “[u]nless the
   [officer’s] act is so obviously wrong in the light of preexisting law, that only a plainly
   incompetent official or one who was knowingly violating the law would have committed the act,
   the official is entitled to qualified immunity.” Snider v. Jefferson State Cmty. Coll., 344 F. 3d
   1325, 1328 (11th Cir. 2003) (citing Malley v. Briggs, 475 U.S. 335, 341 (1986)). In order to be
   entitled to the qualified immunity defense, a government official must demonstrate that the acts

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   complained of were committed within the scope of the officer’s discretionary authority. See
   Kingsland, 382 F. 3d at 1232.
          In order to be entitled to the qualified immunity defense, a government official must
   demonstrate that the acts complained of were committed within the scope of the officer=s
   discretionary authority. See Kingsland, 382 F. 3d at 1232. The Plaintiff is then required to show
   lack of good faith on the Defendant=s part.
          Here, the Plaintiff has not even questioned that Israel and Adkin’s actions, of which it
   complains, took place within their discretionary duties. Thus, the burden shifts to the Plaintiff to
   show lack of good faith on the Israel and Adkin’s part, which burden can only be met by
   demonstrating that his actions: (1) violated a constitutional right, and (2) that right was clearly
   established at the time of the incident. See Garczynski v. Bradshaw, 573 F. 3d 1158, 1165-66
   (11th Cir. 2009); Courson v. McMillian, 939 F. 2d 1479, 1487 (11th Cir. 1991). The Plaintiff
   cannot satisfy this burden under these facts.
          Although Plaintiff has plainly failed to establish any constitutional violation individually
   by Israel or Adkins, as discussed supra. In an abundance of caution, they assert qualified
   immunity with respect to Plaintiff's claims. See Hope v. Pelzer, 536 U.S. 730 (2002)
   (citing Harlow v. Fitzgerald, 457 U.S. 800 (1982)); Saucier v. Katz, 533 U.S. 194 (2001). There
   is no dispute, here, that Israel, in his individual capacity, and Adkins were acting within the
   scope of their discretionary authority, if they did indeed requisition a police presence near the
   Plaintiff’s premises in the interest of public safety. See Lee v. Ferraro, 284 F. 3d 1188, 1194
   (11th Cir 2002). Thus, the burden shifts to the Plaintiff to show that Israel and Adkins violated
   some clearly established law, which the Plaintiff cannot do as no constitutional violation
   occurred in this case. Further, the Plaintiff has not established that Israel and Adkins alleged
   actions, if true, were not objectively reasonable. Accordingly, Israel and Adkins respectfully
   submit that even if the Plaintiff could state a colorable claim against them, they are entitled to
   qualified immunity as a matter of law.
          In addition, the Plaintiff has not shown, that Israel “directed” Adkins, or any other
   officer, to act in a manner that would violate the Plaintiff’s constitutional rights, or even that
   Israel “knew” that Adkins or any other officer would do so. See supra fn. 2. There is certainly no
   documentary evidence or testimony, other than the Plaintiff’s unsupported allegations, to show
   that Israel had knowledge of, agreed to, acquiesced in or approved any improper conduct.

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   Without such a showing, its claim cannot withstand summary judgment. See, e.g., Taylor v.
   Alvarez, 2008 WL 1840719 (S.D.Fla. 2008) (affirming dismissal of supervisory liability claims
   absent a showing of sufficient facts to support a causal connection) (citing Gonzalez v. Reno, 325
   F.3d 1228, 1235 (11th Cir. 2003) (noting that vague and conclusory allegations could not
   establish supervisory liability). See also, Detris v. Coats, 2012 WL 4208051 (M.D.Fla. 2012)
   (dismissing supervisory liability claim on the basis that a mere recital of the elements of the
   cause of action does not support a claim). Likewise, there is no evidence to support, that Sheriff
   Israel “directed” his subordinates to act unlawfully. See Gonzalez, 326 F.3d at 1361-62.
   Accordingly, it bears repeating, the Plaintiff has not causally linked Israel to the alleged
   constitutional violation in this case and he is entitled to qualified immunity as a matter of law.
          Absent a violation of clearly established law, or a violation of the Plaintiff’s
   constitutional rights by Israel and Adkins, the claims against Sheriff Tony and the Broward
   Sheriff’s Office also cannot proceed. See, e.g., Garczynski, 573 F. 3d at 1170 (11th Cir. 2009)
   (where plaintiff failed to show he was deprived of his constitutional rights by the deputies, there
   was no need to explore whether the sheriff violated his rights). As such, if Adkins and Israel are
   entitled to qualified immunity under the facts of this case, then the claims against BSO should
   also be dismissed.
      VII.    DEFENDANTS ARE ENTITLED TO REASONABLE ATTORNEY FEES
              UNDER 42 U.S.C. § 1988
          Pursuant to 42 U.S.C. § 1988, “[i]n any action or proceeding to enforce a provision
   of section . . . 1983 . . . the court, in its discretion, may allow the prevailing party . . . a
   reasonable attorney’s fee as part of the costs . . .” Where the defendant is the prevailing party, a
   court may award attorney fees “upon a finding that the plaintiff's action was frivolous,
   unreasonable, and without foundation, even though not brought in subjective bad
   faith.” Christianburg Garment Co. v. EEOC, 434 U.S. 412, 421 (1978). Moreover, “if a plaintiff
   is found to have brought or continued such a claim in bad faith, there will be an even stronger
   basis for charging him with the attorney's fees incurred by the defense.” Id. at 422. The
   Defendants assert that based on the analysis of the Plaintiff’s claims discussed supra, along with
   complete lack of record evidence to support the Plaintiff’s claims, the Plaintiff action is
   frivolous, unreasonable, and without foundation. As such, the Defendants request their
   reasonable attorney’s fees and costs should they prevail in this action.


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          WHEREFORE, the Defendants, SHERIFF GREGORY TONY, in his official capacity,
   SHERIFF SCOTT ISRAEL, individually, and MAJOR WAYNE ADKINS, respectfully request
   that this Court grant this motion for summary judgment, and that this Court grant such other
   relief as may be proper under the circumstances.



                          CERTIFICATE OF GOOD FAITH CONFERENCE

          I hereby certify that counsel for the movant has conferred with all parties or non-parties
   who may be affected by the relief sought in this motion in a good faith effort to resolve the issues
   but has been unable to do so or has made reasonable efforts to confer with all parties or non-
   parties who may be affected by the relief sought in the motion, but has been unable to do so.
   Dated: September 4, 2019
                                         Respectfully submitted,


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                                   CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on the 4th day of September, 2019, I electronically filed the
   foregoing document with the Clerk of the Court using CM/ECF. I also certify that the foregoing
   document is being served this day on all counsel of records or pro se parties identified on the
   attached Service List in the manner specified, either via transmission of Notice of Electronic
   Filing generated by CM/ECF or in some other authorized manner for those counsel or parties
   who are not authorized to receive electronically Notices of Electronic Filing.

                                       /s/ Kenneth J. Miller
                                       KENNETH J. MILLER




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                                     MAILING LIST

                        USA ENTERTAINMENT, et al. v. BSO, et al.
                              CASE NO. 18-CV-26740-UU
                               OUR FILE NO: 1027.0192

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